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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:12-cr-00123
                                    )
v.                                  )                  Honorable Janet T. Neff
                                    )
SAUL DOUGLAS BRIGGS,                )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on July 19, 2012, after receiving the written consent of defendant and all counsel. There is no

written plea agreement. At the hearing, defendant Saul Douglas Briggs entered a plea of guilty to

Counts One and Two of the Indictment, charging defendant with conspiracy to distribute 500 g or

more of cocaine in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B)(ii), and possession with

intent to distribute 500 g or more of cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii).

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of

the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

promises; that the defendant understands the nature of the charge and penalties provided by law; and

that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Counts One and Two of the

Indictment be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.



Date: July 26, 2012                                    /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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